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                     EXHIBIT A
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                                            KTBS Law LLP
                                        1801 Century Park East, 26th Floor
                                             Los Angeles, CA 90067
                                           Telephone: (310) 407-4000
                                            Facsimile: (310) 407-9090
                                              Taxpayer I.D. No. XX-XXXXXXX



                                                                                        December 5, 2023
Amyris, Inc., et al.                                                                      Bill No. 21034
Attn: M. Freddie Reiss
5885 Hollis Street, Suite 100
Emeryville, CA 94608
For Services Rendered Through 11/30/2023

In Reference To: Amyris, Inc., et al.
File No.:        2483 - 0000

Professional Services
Date           Init       Description                                                            Hours      Amount
       Meetings of and Communications with Debtors’ Professionals
11/01/2023 DMS          Call with A. Kornfeld re examiner motion and Independent                 0.20     $379.00
                        Director Report
11/05/2023     MLT        Confer with R. Pachulski re scope of report and deposition             0.40     $758.00
11/06/2023     MLT        Telephone conference with R. Pachulski re investigation                0.20     $379.00
                          scope and depositions
11/06/2023     MLT        Exchange e-mail correspondence with Pachulski firm (R.                 0.10     $189.50
                          Pachulski, D. Grassgreen) re investigation scope and
                          depositions
11/07/2023     MLT        Telephone conference with R. Pachulski re depositions                  0.10     $189.50
11/17/2023     MLT        Confer with R. Pachulski re investigation report                       0.50     $947.50
       Meetings of and Communications with Debtors’ Professionals                                1.50    $2,842.50
       Meetings of and Communications with Independent Director
11/08/2023 MLT          Videoconference with F. Reiss and N. Maoz re depositions                 0.10     $189.50
11/08/2023     NM         Confer with M. Tuchin and F. Reiss re case status                      0.30     $262.50
11/08/2023     SMK        Email F. Reiss re summary of Doerr deposition                          0.30     $388.50
       Meetings of and Communications with Independent Director                                  0.70     $840.50
       Meetings of and Communications with Other Professionals
11/01/2023 DMS          Email S. Kidder, M. Tuchin and D. Fidler re protocol for                 0.20     $379.00
                        discussions with White & Case
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0000     Amyris, Inc., et al.                                                                              Bill #. 21034
Date            Init            Description                                                        Hours       Amount
       Meetings of and Communications with Other Professionals
11/01/2023 SMK          Emails with S. Golden and J. Ellis re Rule 2004 discovery                  0.10       $129.50
                        of noteholder group
11/02/2023      SMK             Analyze S. Golden and J. Ellis emails re Rule 2004                 0.10       $129.50
                                discovery
       Meetings of and Communications with Other Professionals                                     0.40       $638.00
       Interviews and Depositions
11/03/2023 SMK          Analyze Committee's notice of deposition re Doerr and                      0.10       $129.50
                        confer via email with M. Tuchin, D. Stern, and N. Maoz re
                        same
11/06/2023      MLT             Analyze Notice of Deposition of R. Panchadsaram                    0.10    No Charge
11/06/2023      SMK             Exchange emails with M. Tuchin and F. Reiss re Committee           0.20       $259.00
                                depositions
11/07/2023      MLT             Analyze R. Panchadsaram deposition transcript                      1.30     $2,463.50
11/07/2023      NM              Analyze R. Panchadsaram deposition transacript                     1.20     $1,050.00
11/07/2023      SMK             Brief review of Panchadsaram depo transcript for                   0.40       $518.00
                                consistency with interview
11/07/2023      SMK             Brief review of Doerr interview notes in preparation for           0.50       $647.50
                                Committee depo
11/08/2023      MLT             Analyze correspondence from S. Kidder re Doerr                     0.10       $189.50
                                deposition
11/08/2023      SMK             Attend (via Zoom) deposition of J. Doerr (excludes lunch           6.00     $7,770.00
                                break)
11/09/2023      MLT             Analyze Doerr deposition transcript and day 2 transcript of        1.10     $2,084.50
                                Panchadsaram deposition
11/10/2023      SMK             Emails with S. Golden and N. Maoz re Committee's                   0.10       $129.50
                                deposition of Melo
11/10/2023      SMK             Analyze Committee's notice of deposition re Melo                   0.10       $129.50
11/11/2023      MLT             Analyze correspondence from N. Maoz re Melo deposition             0.10       $189.50
11/11/2023      NM              Deposition of J. Melo (excludes lunch break)                       7.00     $6,125.00
11/11/2023      SMK             Analyze N. Maoz email update re Melo deposition                    0.20       $259.00
11/12/2023      SMK             Brief review of Melo deposition transcript for consistency         0.60       $777.00
                                with interview
11/13/2023      MLT             Analyze J. Mello deposition transcript                             1.20     $2,274.00
       Interviews and Depositions                                                              20.30       $24,995.00
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2483     Amyris, Inc., et al.                                                                                       Page 3
0000     Amyris, Inc., et al.                                                                                 Bill #. 21034
Date            Init            Description                                                           Hours       Amount
       Drafting of Report/Summary of Investigation (Includes Legal
       Research)
11/01/2023 MLT           Analyze correspondence from D. Stern re Amyris report                        0.10    No Charge
11/01/2023      SMK             Analyze email update from D. Stern re distribution of                 0.10       $129.50
                                investigative report
       Drafting of Report/Summary of Investigation (Includes Legal Research)                          0.20       $129.50
       Review of Pleadings Filed in Case
11/01/2023 MLT          Analyze Motion of Ad Hoc Cross-Holder Group for                               0.30       $568.50
                        Examiner
11/01/2023      SMK             Analyze cross-holder group's motion to appoint examiner,              0.30       $388.50
                                including portions related to Reiss investigation
11/02/2023      NM              Analyze motion for examiner                                           0.40       $350.00
11/06/2023      MLT             Analyze pleadings re investigation issues                             0.40    No Charge
       Review of Pleadings Filed in Case                                                              1.40     $1,307.00
       Fee/Employment Applications
11/01/2023 NM          Revise October invoice                                                         1.10    No Charge
11/06/2023      SDP             Prepare third monthly fee application                                 0.70       $416.50
11/07/2023      SDP             Prepare first interim fee application, notice, and exhibits           2.60     $1,547.00
11/07/2023      SDP             Prepare notice of third monthly fee application                       0.10        $59.50
11/09/2023      SMK             Emails with N. Maoz and PSZJ re CNO for KTBS monthly                  0.10    No Charge
                                fee statement
11/10/2023      SMK             Coordinate with P. Jefferies of PSZJ re CNO and payment               0.10    No Charge
                                re KTBS monthly fee statement
11/13/2023      NM              Revise second monthly fee application                                 0.20       $175.00
11/13/2023      SMK             Emails with N. Maoz re third monthly fee statement                    0.10       $129.50
11/14/2023      SMK             Analyze and revise third monthly fee statement                        0.30       $388.50
11/15/2023      NM              Review and revise interim fee application                             0.20       $175.00
11/29/2023      SDP             Revise first interim fee application                                  0.40       $238.00
       Fee/Employment Applications                                                                    5.90     $3,129.00
Professional Services Rendered                                                                    30.40       $33,881.50
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               Total fees and expenses incurred                                     $33,881.50
               Balance forward as of last invoice          $916,123.23
               Net balance forward                                                 $916,123.23
               Balance Now Due                                                     $950,004.73


                                             Timekeeper Summary

Name                                                                       Hours          Rate       Amount
Kidder, Samuel M                                                            0.20            $0    No Charge
Kidder, Samuel M                                                            9.50     $1,295.00   $12,302.50
Maoz, Nir                                                                   1.10            $0    No Charge
Maoz, Nir                                                                   9.30       $875.00    $8,137.50
Pearson, Shanda D.                                                          3.80       $595.00    $2,261.00
Stern, David M.                                                             0.40     $1,895.00      $758.00
Tuchin, Michael L.                                                          0.60            $0    No Charge
Tuchin, Michael L.                                                          5.50     $1,895.00   $10,422.50
                                                                           30.40                 $33,881.50
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0000   Amyris, Inc., et al.                                                                 Bill #. 21034




                                   Wire Instructions for Payment of Invoice


                                     First Republic Bank
               Bank Name:
               Bank Address:         1888 Century Park East
                                     Los Angeles, California 90067
                                     Phone: (800) 392-1407

                                     321081669
               ABA Routing
               No.: Account No.:     997-00044763

               Account Name:         KTBS Law LLP General Operating Account




                                                  Remittance To:


                                     KTBS Law LLP
                                     Attention: Accounting Department
                                     1801 Century Park East, 26th Floor
                                     Los Angeles, CA 90067
